Case 2:20-cv-06853-JWH-AS Document 44 Filed 11/06/20 Page 1 of 1 Page ID #:581



                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
                                   CIVIL MINUTES -
                                      GENERAL

  Case No.       CV 20-06853-JWH (ASx)                                       Date   November 6, 2020
  Title     210 Brands Incorporated v. Canterbury of New Zealand Limited, et al.


  Present: The Honorable         JOHN W. HOLCOMB, UNITED STATES DISTRICT JUDGE
      Irene Vazquez / Noe U. Ponce                                          Lisa Gonzalez
                Deputy Clerks                                              Court Reporter
    Attorney(s) Present for Plaintiff(s):                      Attorney(s) Present for Defendant(s):
               Beshoy Rizk                                               Kevin A. Adams
           Robert M. Einhorn




Proceedings:         VIDEO HEARING RE: MOTION TO DISMISS COMPLAINT
                     [12] AND MOTION TO REMAND [24]


       Counsel state their appearances. The Court confers with counsel and hears
 oral argument. The Court takes the matters under submission.


          IT IS SO ORDERED.




                                                                                                  Time: 00:17
                                                                                    Initials of Preparer: iv/np
